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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

************************ *
ERIC SCOTT BOYD and NAOMI NICOLE, *
BOYD, on behalf of their minor child, *                   No. 13-634V
JANAE LEANN BOYD,                     *                   Special Master Christian J. Moran
                                      *
                 Petitioners,         *                   Filed: February 5, 2015
                                      *
v.                                    *                   Stipulation; Trivalent influenza
                                      *                   (“flu”) vaccine; transverse myelitis.
SECRETARY OF HEALTH                   *
AND HUMAN SERVICES,                   *
                                      *
                 Respondent.          *
************************ *

Andrew D. Downing, Phoenix, AZ, for Petitioners;
Jennifer L. Reynaud, United States Dep’t of Justice, Washington, DC, for
Respondent.

                                 UNPUBLISHED DECISION 1

       On February 2, 2015, respondent filed a joint stipulation concerning the
petition for compensation filed by Eric and Naomi Boyd, on behalf of their daughter,
Janae Leann Boyd, on September 3, 2013. In their petition, the Boyds alleged that
the Trivalent influenza (“flu”) vaccine which Janae received on January 14, 2013,
which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a),
caused her to suffer transverse myelitis. Petitioners further allege that Janae
experienced the residual effects of her injuries for more than six months. Petitioners
represent that there has been no prior award or settlement of a civil action for
damages as a result of Janae’s condition.

       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special master
will appear in the document posted on the website.
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      Respondent denies that the influenza vaccine caused Janae’s alleged injuries,
any other injury or her current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $250,000.00 in the form of a check payable to petitioners,
        as the Guardians/Conservators of the estate of Janae Leann Boyd, for the
        benefit of Janae Leann Boyd. This amount represents compensation for
        all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B, the
clerk is directed to enter judgment in case 13-634V according to this decision and the
attached stipulation. 2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                    s/ Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party
filing a notice renouncing the right to seek review by a United States Court of Federal Claims judge.
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